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                ORAL ARGUMENT NOT YET SCHEDULED

                                No. 21-14213


                  UNITED STATES COURT OF APPEALS
                     FOR THE ELEVENTH CIRCUIT


        RMS OF GEORGIA, LLC D/B/A CHOICE REFRIGERANTS,
                           Petitioner,

                                       v.

          U.S. ENVIRONMENTAL PROTECTION AGENCY, et al.,
                          Respondents.


                    Petition for Review of an Action of the
                    U.S. Environmental Protection Agency


                         RESPONDENT’S BRIEF


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                  CERTIFICATE OF INTERESTED PERSONS

       Pursuant to 11th Cir. R. 28.1(b), Respondents provide the following list of

all trial judges, attorneys, persons, associations of persons, firms, partnerships, or

corporates that have an interest in the outcome of this case or appeal, including

subsidiaries, conglomerates, affiliates, parent corporations, any publicly held

corporation that owns 10% or more of the party’s stock, and other identifiable legal

entities related to a party.

          1.     A-Gas

          2.     Advanced Specialty Gases

          3.     Air Liquide USA

          4.     Altair Partners

          5.     Arkema

          6.     Artsen

          7.     AutoZone Parts

          8.     AW Product Sales & Marketing

          9.     Bianco, Karen – U.S. EPA, Office of General Counsel, Counsel for

                 Respondents

          10.    Bluon

          11.    Buckley, Sarah – U.S. Department of Justice, Counsel for

                 Respondents



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       12.   Chemours

       13.   Combs Gas

       14.   ComStar International

       15.   Daikin America

       16.   Electronic Fluorocarbons

       17.   First Continental International

       18.   FluoroFusion Specialty Chemicals

       19.   GlaxoSmithKline

       20.   Harp USA

       21.   Honeywell International

       22.   Hudson Technologies

       23.   ICool USA

       24.   IGas Holdings

       25.   Iofina Chemical

       26.   Kim, Todd – Assistant Attorney General, Counsel for Respondents

       27.   Lenz Sales & Distribution

       28.   Linde

       29.   Mexichem Fluor DBA Koura

       30.   Mondy Global

       31.   National Refrigerants



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       32.   Nature Gas Import and Export

       33.   Refrigerants, Inc.

       34.   Regan, Michael S. – U.S. EPA Administrator, Respondent

       35.   RMS of Georgia, D/B/A Choice Refrigerants – Petitioner

       36.   Showa Chemicals of America

       37.   Solvay Fluorides

       38.   Technical Chemical

       39.   Transocean Offshore Deepwater Drilling

       40.   Tulstar Products

       41.   U.S. Environmental Protection Agency, Respondent

       42.   Walmart

       43.   Waysmos USA

       44.   Weitron

       45.   Wilhelmsen Ships Service

       46.   Williamson, David M. – Williamson Law + Policy, Counsel for

             Petitioner



                                      /s/ Sarah A. Buckley




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              STATEMENT REGARDING ORAL ARGUMENT

      Respondents request oral argument. Argument is warranted to address the

Court’s questions on the application of 42 U.S.C. § 7607(b)(1)’s venue provision

to the agency action challenged here and, if the Court wishes to reach the merits, to

explain further EPA’s application of its regulatory methodology for calculating the

number of allowances allocated to entities in that action.


                                              /s/ Sarah A. Buckley
                                              SARAH A. BUCKLEY




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                           CERTIFICATE AS TO
                 PARTIES, RULINGS, AND RELATED CASES

      Pursuant to Circuit Rule 28(a)(1), counsel for Respondents (“EPA”)

submits this certificate as to parties, rulings, and related cases.

      A.     Parties and Amici

      All parties, intervenors, and amici appearing in this court are listed in the

opening briefs for Petitioners.

      B.     Rulings Under Review

      The agency action under review is EPA’s action allocating production and

consumption allowances for 2022 pursuant to the American Innovation and

Manufacturing Act. The notice of this action published in the Federal Register was

entitled “Phasedown of Hydrofluorocarbons: Notice of 2022 Allowance

Allocations for Production and Consumption of Regulated Substances Under the

American Innovation and Manufacturing Act,” 86 Fed. Reg. 55,841 (Oct. 7, 2021).

(“Allocation Action”).

      C.     Related Cases

      RMS of Georgia, LLC d/b/a Choice Refrigerants sought review of EPA’s

Allocation Action in the D.C. Circuit. See RMS of Georgia v. EPA, No. 22-1025

(D.C. Cir.). That case is currently being held in abeyance pending resolution of the

venue question in the present petition for review. Order, No. 22-1025 (Mar. 14,

2022), Doc. No. 1939003.


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                                    /s/ Sarah A. Buckley




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                              GLOSSARY

AIM Act                    American Innovation and Manufacturing Act of
                           2020

EPA                        Environmental Protection Agency

HFCs                       Hydrofluorocarbons

RTC                        EPA’s Response to Comments, EPA-HQ-OAR-
                           2021-0044-0227-03




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                                 INTRODUCTION

      The American Innovation and Manufacturing Act of 2020 (“AIM Act”)

mandates the phasedown of the production and consumption of

hydrofluorocarbons (“HFCs”), which are highly potent greenhouse gases, to fifteen

percent of baseline levels by 2036. To accomplish the mandated phasedown, the

AIM Act directs EPA to establish a system for the allocation and trading of

allowances, which are required to produce or consume HFCs.

      EPA established that system, along with complementary compliance-related

measures, in a 2021 rule referred to as the “Framework Rule.” Petitioner RMS of

Georgia, LLC, d/b/a Choice Refrigerants (“Choice”), and others have challenged

aspects of that rule in petitions for review pending in the D.C. Circuit.

      The Framework Rule established a methodology by which allowances would

be calculated and allocated. Applying that methodology, EPA took the “Allocation

Action” challenged here. In that action, EPA issued allowances for 2022 to entities

that have historically produced or consumed HFCs.

      Choice challenges EPA’s Allocation Action in the wrong court. The

Allocation Action is “nationally applicable,” because it is the division and

assignment of a single, nationwide pool of HFC allowances to entities across the

country according to the uniform, national methodology established in EPA’s

regulations. Each entity’s allowance allocation is a relative share of that pool; thus,



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any additional allowances awarded to Choice necessarily would disrupt the

allocations to others. Under the applicable judicial review provision, the D.C.

Circuit is the only proper forum for review of such “nationally applicable” agency

action. 42 U.S.C. § 7607(b)(1). Allowing suits like this one to proceed anywhere

else would thwart the venue provision’s purpose of preventing inconsistent rulings

as to this integrated nationwide program.

      If the Court reaches the merits, it should deny the petition. Choice seeks to

claim part of the allocation for “Company A.” It contends that, in calculating

entities’ historic HFC consumption activity, EPA incorrectly credited Company A

as having been the importer of bulk regulated substances that were sold, after

import by Company A, to and for use by Choice. But EPA reasonably applied its

governing regulations to include imports brought into the United States by

Company A in the calculation for Company A’s allowance allocation, as opposed

to Choice’s. In making the allocation decision, EPA reasonably relied on data

reported to the Agency and certified as accurate, which was then verified against

filings with U.S. Customs and Border Protection. The data uniformly indicated that

Company A imported the HFCs for which Choice wishes to claim credit. EPA’s

approach was consistent with the allocation methodology established in the

Framework Rule (which Choice does not challenge here), and the Agency’s

decision should be upheld.



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      Choice also contends that it should have received a higher HFC allowance

allocation based on imports by another entity—“Company B”—because, according

to Choice, that entity violated U.S. trade and patent laws. But EPA appropriately

rejected Choice’s request to credit Choice with imports by Company B. Neither the

AIM Act nor EPA’s implementing regulations gives EPA the authority to

adjudicate patent disputes, and there is nothing in the Framework Rule that would

allow, let alone require, EPA to credit patent holders with import activity by an

unrelated entity. Similarly, EPA’s Framework Rule does not authorize, let alone

require, giving credit for HFC imports by an entity that allegedly violated trade

rules to another entity that allegedly holds a patent for a particular HFC blend.

      Accordingly, the petition should be dismissed or transferred to the proper

venue, the D.C. Circuit. If this Court reaches the merits, the petition for review

should be denied.

                         STATEMENT OF THE ISSUES

      1.     Is EPA’s Allocation Action, which allocated a limited, nationwide

pool of allowances among entities throughout the country using a common,

nationwide analytical method, nationally applicable and therefore properly subject

to review only by the D.C. Circuit?

      2.     Did EPA reasonably determine that the calculation of Company A’s

allowance allocation should include HFCs that it brought into the country, paid



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duties on, and reported to EPA and U.S. Customs, and that those same HFCs

should not be included in the calculation of Choice’s allowance allocation?

      3.    Did EPA reasonably decline to consider alleged violations of patent or

trade law in its allowance allocation calculation, consistent with the methodology

established in the Framework Rule, and determine that the calculation of Choice’s

allowance allocation should not include HFCs that were brought into the country

and reported to EPA and U.S. Customs by Company B?

                         STATEMENT OF THE CASE

I.    The AIM Act

      The AIM Act, enacted on December 27, 2020, Pub. L. No. 116-260, Div. S,

§ 103, 134 Stat. 1182, 2255–71 (2020) (codified at 42 U.S.C. § 7675), mandates

the phasedown of the production and consumption of hydrofluorocarbons, which

are highly potent greenhouse gases. Phasedown of Hydrofluorocarbons:

Establishing the Allowance Allocation and Trading Program Under the American

Innovation and Manufacturing Act. 86 Fed. Reg. 55,116, 55,123–25 (Oct. 5, 2021)

(“Framework Rule”). The phasedown takes the form of stepwise percentage

reductions down to fifteen percent of baseline by 2036. 42 U.S.C. § 7675(e)(2).

“Produce” is defined as “the manufacture of a regulated substance from a raw

material or feedstock chemical.” Id. § 7675(b)(7)(A). “Consumption” is defined as

the quantity of regulated substances produced and “imported” into the United



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States, minus regulated substances exported. Id. § 7675(b)(3)(A)(ii). And “import”

“means to land on, bring into, or introduce into, or attempt to land on, bring into, or

introduce into, any place subject to the jurisdiction of the United States.” Id.

§ 7675(b)(6).

      The statute identifies eighteen HFCs, along with their isomers, as “regulated

substances.” Id. § 7675(b)(11), (c)(1).1 The Act identifies these HFCs and assigns

them an “exchange value,” a common unit of measure that can be used to compare

different HFCs based on values that are equivalent to their global warming

potentials. Id. §§ 7675(b)(5), 7675(e)(1)(D); see 86 Fed. Reg. at 55,133 & n.34;

see also id. at 55,121 n.5. To effectuate a phasedown of these regulated HFCs, the

statute first directs EPA to determine the baselines for the production and

consumption of all regulated substances in the United States. 42 U.S.C.

§ 7675(e)(1). The statute then provides a schedule for a gradual phasedown of

production and consumption relative to those baselines. Id. § 7675(e)(2). The

statute then directs EPA to “ensure that the annual quantity of all regulated

substances produced or consumed in the United States does not exceed” the

quantity permitted by the statutory phasedown schedule. Id. § 7675(e)(2)(B).




1
 For simplicity, this brief will refer to these regulated substances as “HFCs”
generally, although not all HFCs are necessarily “regulated substances.”

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      The statute requires EPA to establish “an allowance allocation and trading

program.” Id. § 7675(e)(3). An allowance is a limited authorization for the

production or consumption of a regulated substance, and it does not constitute a

property right. Id. § 7675(e)(2)(D)(ii). No person may produce or consume a

regulated substance without a corresponding allowance. Id. § 7675(e)(2)(A).

      The number of available allowances for the production or consumption of

HFCs decreases over the years based on the statutory phasedown schedule. Id. §

7675(e)(2)(D)(i). For at least the first five-year period after enactment of the AIM

Act, EPA must allocate some of those allowances for exclusive use in six specific

applications identified by the statute. Id. § 7675(e)(4)(B)(iv). EPA may identify

other essential uses that receive exclusive-use allowances. Id. § 7675(e)(4)(B)(i).

II.   Venue under the AIM Act

      The AIM Act provides that certain sections of the Clean Air Act “shall apply

to” the AIM Act and “any rule, rulemaking, or regulation promulgated by the

Administrator [of EPA] pursuant to [the AIM Act] as though [the AIM Act] were

expressly included in title VI of [the Clean Air Act].” Id. § 7675(k)(1)(C). Among

the applicable sections of the Clean Air Act is section 307, id. § 7607, which

includes provisions on judicial review. Section 7607(b)(1) provides that, for any

“nationally applicable regulations promulgated, or final action taken” by EPA

“under this chapter,” a petition for review “may be filed only in the United States



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Court of Appeals for the District of Columbia.” By contrast, petitions for review of

final actions that are “locally or regionally applicable may be filed only in the

United States Court of Appeals for the appropriate circuit.” Id.

III.   The Framework Rule

       Following public notice and comment, EPA signed the Framework Rule on

September 23, 2021. 86 Fed. Reg. at 55,117. In the Framework Rule, EPA

established regulations implementing the prohibition on production or

consumption of HFCs without an allowance, as well as compliance, record-

keeping, and other requirements. EPA also applied statutory formulas to establish

the baselines for the production and consumption of all HFCs in the United States.

Id. at 55,118. EPA then applied the percentages in the statutory phasedown

schedule to those baselines to determine the quantity of allowances that will be

available nationwide for each calendar year. Id. EPA also established a

methodology for allocating allowances. 86 Fed. Reg. at 55,143–48.2

             1.     Establishing production and consumption allowances

       The Framework Rule established regulations prohibiting the production or

consumption of HFCs without expenditure of corresponding production or



2
  Any challenge to that methodology itself must therefore be brought in a challenge
to the Framework Rule itself, which is presently before the D.C. Circuit. See
Heating, Air-Conditioning, & Refrigeration Distribs. Int’l, et al. v. EPA, Case No.
21-1251 (and consolidated cases) (D.C. Cir.).

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consumption allowances equal to the exchange value equivalent weight of the

particular HFCs produced or consumed, beginning January 1, 2022. 86 Fed. Reg.

at 55,138; 40 C.F.R. § 84.5(a). EPA established three types of allowances:

production allowances, consumption allowances, and application-specific

allowances. Id. at 55,142. Producing HFCs will require expending both production

allowances and consumption allowances (or an application-specific allowance, if

applicable). Id.; see 40 C.F.R. § 84.5(a). Importing HFCs will require expending

only consumption allowances or an application-specific allowance. 86 Fed. Reg. at

55,142; see 40 C.F.R. § 84.5(b). Application-specific allowances are allotted

exclusively for the production or importation of hydrofluorocarbons for use in six

specific applications identified by statute. 86 Fed. Reg. at 55,142, 55,148; see 40

C.F.R. § 84.5(c). Only two activities—production and import—require the

expenditure of allowances.

             2.     Allocating production and consumption allowances.

      EPA also established in the Framework Rule the methodology for allocating

the limited quantity of allowances between entities for calendar years 2022 and

2023.3 86 Fed. Reg. at 55,118. Under this methodology, the six statutorily specified

applications receive priority access to the pool of available allowances. Id. at



3
 EPA will establish the allowance allocation methodology for calendar year 2024
and beyond in a future rulemaking. 86 Fed. Reg. at 55,118.

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55,147. For 2022, EPA also set aside a small set of allowances for allocation at a

later time. Id. The remainder is the general allowance pool. Id. at 55,147.

      To allocate allowances remaining in the general pool, the Framework Rule

provided that EPA would issue production and consumption allowances to

companies that historically produced or imported HFCs and continued to do so in

2020. Id. at 55,144; see 40 C.F.R. §§ 84.9(a), 84.11(a).

      For those companies, EPA would issue allowances based on the average of

their three (not necessarily consecutive) highest years of production or

consumption between 2011 and 2019. 86 Fed. Reg. at 55,144–45; see 40 C.F.R.

§§ 84.9(a), 84.11(a). EPA would divide each company’s high-three average by the

sum of all companies’ averages to determine each company’s share of the general

allowance pool. 86 Fed. Reg. at 55,147; 40 C.F.R. §§ 84.9(a); 84.11(a). That

calculation would result in the percentage of the general allowance pool allocated

to each company.

             3.    Import provisions

      With respect to import, EPA’s regulations state that “[n]o person may import

bulk regulated substances, except . . . [b]y expending, at the time of the import,

consumption or application-specific allowances in a quantity equal to the

exchange-value weighted equivalent of the regulated substances imported.” 40

C.F.R. § 84.5(b). For allocating allowances for import, EPA’s regulations state that



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it will issue “calendar year consumption allowances to entities that imported or

produced a bulk regulated substance in 2020,” according to the methodology

described in Part III.2 above. 40 C.F.R. § 84.11(a) (emphasis added). “If multiple

importers are related through shared corporate or common ownership or control,”

allowances will be allocated “to a single corporate or common owner.” Id.

      Mirroring the statutory definition, EPA’s regulations define “import” as “to

land on, bring into, or introduce into, or attempt to land on, bring into, or introduce

into, any place subject to the jurisdiction of the United States[.]” 40 C.F.R. § 84.3.

The regulations further define “importer” as:

      any person who imports a regulated substance into the United States.
      “Importer” includes the person primarily liable for the payment of any
      duties on the merchandise or an authorized agent acting on his or her
      behalf. The term also includes:

       (1)   The consignee;

       (2)   The importer of record;

       (3)   The actual owner; or

       (4)   The transferee, if the right to draw merchandise in a bonded
             warehouse has been transferred.

40 C.F.R. § 84.3.

             4.     Choice’s comments

      Choice submitted several letters in response to EPA’s request for comment

on the Framework Rule. One of those letters included Choice’s own calculations of



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provided in the Framework Rule, EPA relied on multiple sources of data to

determine each entity’s consumption or production history. These included:

         1. Data reported through the Greenhouse Gas Reporting Program;

         2. Data received in response to a “Notice of Data Availability” published

            February 11, 2021, which provided information related to the

            available Reporting Program data and identified possible data gaps

            and requested comment on how EPA could improve that data, 86 Fed.

            Reg. 9059 (Feb. 11, 2021); Framework Rule, 86 Fed. Reg. at 55,144–

            45 (explaining use of NODA information in allowance allocation)4;

         3. Data from the Department of Customs and Border Protection’s

            “Automated Customs Environment” and confirmed through letters

            issued under EPA’s Clean Air Act record inspection authority; and

         4. Information submitted in comments on the proposed Framework Rule.

            86 Fed. Reg. at 55,140.

      Thus, to allocate calendar year 2022 allowances, EPA first gathered data

reported to the Greenhouse Gas Reporting Program. Methodology Memo at 1

(A20). Under that Program, facilities that import, export, or destroy more than




4
 EPA encouraged entities with relevant past HFC activity to report that data to the
Agency and to submit comments to the Framework Rule rulemaking docket that
such information had been reported. Proposed Rule, 86 Fed. Reg. at 27,150.

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25,000 metric tons of carbon dioxide equivalent HFCs or more must submit annual

reports detailing their activities. Id.; see Proposed Rule, 86 Fed. Reg. 27,150,

27,164 (May 19, 2021). All HFC production must also be reported. Id.; see 40

C.F.R. §§ 98.410(b), 98.411. Data submitted through this Program are subject to

certain verification and accuracy checks. 86 Fed. Reg. at 27,164. Data submitted to

EPA must be certified as true, accurate, and complete under penalty of law. 40

C.F.R. § 98.4(e)(1). The Program “captures the vast majority of the bulk HFC

production, import, and export in the United States.” Id. Notably, “Import” and

“importer” for purposes of the Reporting Program are substantially the same as

under EPA’s AIM Act regulations. Compare 40 C.F.R. § 98.418 (definition of

“import” and “importer” for Reporting Program), with 40 C.F.R. § 84.3 (definition

of “import” and “importer” for AIM Act purposes).

      To provide an additional check, EPA compared the Reporting Program data

to import data from U.S. Customs and Border Protection. Methodology Memo at 1

(A20). If the import amount an individual entity had previously reported to EPA

was at least 20% greater than imports reported to Customs, EPA asked that entity

to submit additional documentation to substantiate imports and/or correct the data

previously submitted. Id. at 1–2 (A20–21). All 23 entities EPA contacted either

corrected their prior EPA reports or submitted Customs documentation to verify

their data. Id. at 2 (A21). “Company A,”                      , did not have a



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sufficiently large discrepancy between Reporting Program and Customs data, but

did request and was ultimately granted consideration as one entity with a

commonly held corporate entity,                         . Id. at 10 (A29). Choice

(“RMS of Georgia”) also did not have discrepancies between EPA and Customs

data that met the threshold for follow up verification correspondence. Id. at 14–15

(A33–34).

      EPA maintained a “master sheet” of facility-level, chemical-specific data

from which it conducted its calculation for the allowance allocation. Id. at 2 (A21);

see excerpts from Allocation Master List (Exhibits A & B). After compiling

relevant data and reviewing requests for special consideration, EPA identified

which entities were eligible for allowances; that is, entities that historically

produced and/or imported between 2011 and 2019 and produced and/or imported

in 2020, 40 C.F.R. § 84.11(a), or were granted special consideration. Methodology

Memo at 3 (A22).

      EPA calculated each eligible entity’s annual production and/or consumption

of HFCs, identified the entities’ three highest years of production or consumption

activity, and calculated the average. Id. at 4 (A23); Allocation Master List –

Calculations, Ex. B. The resulting averages were summed together to create the

general pool denominator for either production or consumption, as applicable, and

then each entity’s average was divided by the denominator to determine a relative



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        Likewise, EPA found that “Company A” consumed the following amounts

of HFCs as measured in exchange-value equivalent:

 Year                                           Exchange value equivalent imports

 2013

 2016

 2019

 High-3 Average



EPA therefore identified 2013, 2016, and 2019 as Company A’s “high-three” years

for consumption, resulting in an average of                  . Allocation Master List –

Calculations at 4–5, Ex. B. The resulting relative percentage for Company A was

         , which resulted in an allocation of

                          . 86 Fed. Reg. at 55,843. Consistent with the Framework

Rule approach, EPA did not include HFCs imported by Company A or Company B

in Choice’s allocation calculation.

V.      Petition for review and jurisdictional briefing.

        Choice filed this petition for review on December 6, 2021. Choice also filed

a petition for review in the D.C. Circuit challenging both the Framework Rule and

the Allocation Action. RMS of Georgia v. EPA, No. 21-1253 (D.C. Cir.),

consolidated with Heating, Air-Conditioning, & Refrigeration Distributors



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International, et al. v. EPA, Case No. 20-1251 (D.C. Cir.). Choice stated that its

D.C. Circuit petition on the Allocation Action was protective only, as Choice

believed that the challenge was properly filed in the Eleventh Circuit. Id. at 1 n.1.

The portion of Choice’s D.C. Circuit petition challenging the Allocation Action

was severed and assigned its own docket. RMS of Georgia v. EPA, No. 22-1025

(D.C. Cir.). That case is being held in abeyance pending resolution of the venue

question in this case.

      On December 22, 2021, this Court issued a Jurisdictional Question asking

for simultaneous briefing on whether Choice was required to file its petition for

review in the D.C. Circuit. EPA’s response stated its position that venue over

Choice’s petition was proper only in the D.C. Circuit, per 42 U.S.C. § 7607(b),

because the action challenged is nationally applicable. EPA Response to

Jurisdictional Question (January 18, 2022). On April 1, 2022, the Court ordered

that the jurisdictional question be carried with the case and stated that the parties

may address the venue issue in their merits brief as appropriate.

                            STANDARD OF REVIEW

      EPA’s Allocation Action is a final agency action subject to judicial review

under the Administrative Procedure Act (“APA”). Under the APA, courts may

“hold unlawful and set aside agency action” that is “arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). This



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standard is “exceedingly deferential.” Fund for Animals, Inc. v. Rice, 85 F.3d 535,

541 (11th Cir. 1996). Where EPA has considered the relevant factors and

articulated a rational connection between the facts found and the choices made, its

decisions must be upheld. Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins.

Co., 463 U.S. 29, 43 (1983). Courts further give an “extreme degree of deference”

to EPA’s “evaluation of scientific data within its technical expertise.” Miss.

Comm’n on Envtl. Quality v. EPA, 790 F.3d 138, 150 (D.C. Cir. 2015); see City of

Oxford, Ga. v. FAA, 428 F.3d 1346, 1352 (11th Cir. 2005).

      The Court’s review is limited to the administrative record. Fla. Power &

Light Co. v. Lorion, 470 U.S. 729, 743–44 (1985). EPA submitted a certified index

to the administrative record for this case on February 1, 2022. In its merits brief,

Choice refers to and relies on three documents that were not included in that

certified index: EPA’s Response to Comments regarding the Framework Rule

(Addm. 53); Choice’s July 6, 2021 comment letter (Addm. 112); July 2, 2021

FluoroFusion comment letter (Addm. 95). See Choice Br. at 10–17, 33 n.24, 39 &

nn.26, 27. EPA agrees that the Court may properly consider these three documents,

which were before EPA at the time of decision and which were inadvertently




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excluded from the certified index.5 Accordingly, EPA is filing a corrected certified

index in a separate filing.

                          SUMMARY OF ARGUMENT

      1. Choice’s petition for review should be dismissed in favor of its protective

petition in the D.C. Circuit or transferred to that circuit. Section 307(b)(1) of the

Clean Air Act, 42 U.S.C. § 7607(b)(1), which the AIM Act makes applicable here,

provides that the D.C. Circuit is the sole forum for a petition for review of a

“nationally applicable” final action. National applicability is determined from the

face of the agency action itself, not from the scope of a petitioner’s challenge. On

its face, the Allocation Action distributes a limited, nationwide pool of allowances

among entities throughout the country using a common analytical method and is,

therefore, nationally applicable. Choice’s contrary argument adopts the approach




5
  Without itself moving for supplementation, Choice contends that EPA’s failure to
include these documents in the record renders its action arbitrary and capricious.
See Choice Br. at 8 n.10, 10. This argument is misplaced. The administrative
record is composed of the documents that were before the Agency at the time of its
decision, and EPA acknowledges that the documents in question were before EPA
and should have been certified as a part of the record. Citizens to Pres. Overton
Park, Inc. v. Volpe, 401 U.S. 402, 420 (1971), abrogated on other grounds by
Califano v. Sanders, 430 U.S. 99 (1977); see also Camp v. Pitts, 411 U.S. 138
(1973). The omission of these three documents from the record was inadvertent,
and EPA is correcting the certified index to include these three documents.
Because the index is not itself part of “the whole record” on which judicial review
of EPA’s action is premised, 5 U.S.C. § 706, any error in initial compilation of the
index cannot be grounds for holding that action unlawful.

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of a Seventh Circuit case, Madison Gas & Electric Co. v. EPA, 4 F.3d 529, 530

(7th Cir. 1993), that was expressly overruled as “inconsistent with the text of

§ 7607(b)(1).” S. Ill. Power Coop. v. EPA, 863 F.3d 666, 671 (7th Cir. 2017). The

Court here should likewise reject that approach and dismiss or transfer the petition

on venue grounds.

      2. If the Court reaches the merits, it should deny the petition. First, EPA

reasonably applied the approach set out in the Framework Rule and its codified

regulations to include HFCs brought into the country by Company A in that

company’s allocation calculation rather than in Choice’s allocation calculation. As

EPA said it would in the Framework Rule preamble, EPA relied on data reported

to the Agency as required by the Greenhouse Gas Reporting Program, as verified

against filings with U.S. Customs and Border Protection. All of the data indicated

that Company A imported the HFCs for which Choice wishes to claim credit. EPA

reasonably concluded that Choice’s description of its relationship with Company A

described to EPA in advance of the Allocation Action made Choice the customer

of the entity that imported. Furthermore, EPA’s approach was consistent with the

overall structure of the phasedown program, which requires consumption

allowances to be expended at the time of “import”—landing on, bringing into, or

introducing into the United States, not for purchase or subsequent use of HFCs.




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      Second, EPA appropriately rejected Choice’s request to credit Choice with

imports by Company B that Choice contends were in violation of trade or patent

laws. EPA does not have the authority to adjudicate patent disputes as an element

of its allowance allocation, and there is nothing in the Framework Rule that would

allow, let alone require, EPA to credit patent holders with an unrelated entity’s

imports. Moreover, being a patent holder does not make one the “owner” of all

fixations of that patent and there is thus no basis to conclude Choice was the

“actual owner” of the Company B imports nor the “entit[y] that imported” them for

purposes of the allocation calculation. 40 C.F.R. § 84.11(a). Choice’s intellectual

property allegations are irrelevant to the Allocation Action.

      Similarly, EPA’s Framework Rule does not authorize, let alone require,

giving credit for HFC imports by an entity that allegedly violated trade rules to an

unrelated patent-holder. Although EPA’s Framework Rule established

consequences for entities’ failure to pay Anti-Dumping/Countervailing Duties

levied by the Department of Commerce, see 86 Fed. Reg. at 55,170, those

consequences do not include treating unrelated entities as the entity that imported

the allegedly violating HFCs. See id. Furthermore, Choice’s theory for being the

“actual owner” of the Company B imports is based on pure speculation about their

effect on Choice’s share of the HFC market and is unmoored from any reasonable

construction of that statutory term.



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                                   ARGUMENT

I.    Venue is proper only in the D.C. Circuit because the Allocation
      Action is nationally applicable.

      The proper forum for this petition is the D.C. Circuit. Venue over Choice’s

petition for review is governed by section 307(b)(1) of the Clean Air Act, 42

U.S.C. § 7607(b)(1). See 42 U.S.C. § 7675(k)(1)(C) (applying section 307 to the

AIM Act). Under that provision, the D.C. Circuit is the sole forum for a petition for

review of a “nationally applicable” final action. Id. § 7607(b)(1) (petition for

review of “nationally applicable” final action “may be filed only” in the D.C.

Circuit). The Allocation Action is nationally applicable because it allocated a

limited, nationwide pool of allowances among entities throughout the country

using a “common, nationwide analytical method.” S. Ill. Power Coop., 863 F.3d at

671; see also ATK Launch Sys., Inc. v. EPA, 651 F.3d 1194, 1197 (10th Cir. 2011).

The Court should accordingly dismiss this case in favor of the protective petition

Choice filed in the proper forum: the D.C. Circuit.6



6
  Although this Court described the forum question as a “Jurisdictional Question,”
it has not yet addressed whether the provisions of Section 7607(b)(1) are
jurisdictional. That question need not be decided in this case. If jurisdictional, the
provisions must be enforced in every case. See 42 U.S.C. § 7607(b)(1); Utah v.
EPA, 765 F.3d 1257, 1258–59 (10th Cir. 2014) (concluding that other requirements
of 42 U.S.C. § 7607(b)(1) are mandatory jurisdictional requirements). But see
Dalton Trucking, Inc. v. EPA, 808 F.3d 875, 878–80 (D.C. Cir. 2015) (concluding
that these provisions are non-jurisdictional venue provisions). If the circuit-


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      The Allocation Action is, on its face and in every way relevant to the venue

analysis, nationally applicable. The AIM Act imposes a national cap on the total

number of allowances available for each year for all entities nationwide. 42 U.S.C.

§ 7675(e)(2)(B)–(D). For 2022, there was a national pool of 344,299,157

production allowances and 273,498,315 consumption allowances available to

distribute. The Allocation Action distributed that finite set of allowances consistent

with the methodology EPA established in its nationally applicable Framework

Rule. The entities receiving allowances are distributed nationwide, and allowances

can be used nationwide, not limited by law or fact to any discrete locality or

region. The Allocation Action is thus nationally applicable.

      Choice’s argument that the Action is “locally applicable” because Choice

challenges only Choice’s allocation is flawed for three reasons. First, Choice’s

individual allocation is inseparable from the Allocation Action as a whole because

any change in Choice’s allocation necessarily affects the allowances available to

others. Indeed, Choice expressly argues that two other entities—Company A and

Company B—were inappropriately credited with imports that should have gone to

Choice. See Choice Br. at 31–32, 38. Second, Choice’s argument that the scope of

its challenge determines venue is contrary to the plain text of the governing venue



selection provisions in Section 7607(b)(1) are venue provisions, they must be
enforced unless EPA has waived its venue objection, which it has not done here.

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provision, 42 U.S.C. § 7607(b)(1). Third, Choice’s argument is contrary to

established precedent and hinges on a Seventh Circuit case, Madison Gas &

Electric Co. v. EPA, 4 F.3d 529 (7th Cir. 1993), that has been expressly overruled.

      A.       The Allocation Action applies nationally, and the individual
               impact of Choice’s allocation is inseparable from the whole.

      Choice’s contention that it is challenging its allocation alone, and thus that

the “action” under review is “locally applicable,” mischaracterizes the Allocation

Action and the effect of Choice’s challenge. The Allocation Action must be viewed

in its entirety for purposes of a 42 U.S.C. § 7607(b)(1) analysis. As explained more

fully below, under the “straightforward (if wordy) statutory text, venue depends

entirely on—and is fixed by—the nature of the agency’s action; the scope of the

petitioner’s challenge has no role to play in determining venue.” S. Ill. Power, 863

F.3d at 670.

      On its face, the Allocation Action is nationally applicable. The Federal

Register notice for the Allocation Action expressly states that the Action is the

issuance of “calendar year 2022 allowances for the production and consumption of

hydrofluorocarbons in accordance with the Agency’s regulations established under

the [AIM Act].” 86, Fed. Reg. at 55,841; see also id. at 55,843 (table reflecting

allocation of “calendar year 2022 consumption allowances” to 40 entities). Those

allowances were not issued to any individual or geographically discrete group of

entities; they were issued to entities nationwide. As the Tenth Circuit explained in


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ATK Launch Systems, 651 F.3d at 1197, that an action “reaches geographic areas

from coast to coast and beyond is, at a minimum, a strong indicator that the

regulation is nationally applicable.” In addition, all of the “standards and

methodologies” applied in the Allocation Action “are part of EPA’s nationwide

approach” to implementing the AIM Act. Id. at 1198.

      Choice’s focus on the scope of its own claims for the determination of venue

is therefore misplaced. Because the Allocation Action distributes a finite allowance

pool among entities nationwide, Choice’s claim that it is entitled to a larger portion

of that pool necessarily diminishes the amount remaining that can be divided

among other entities. Consequently, even if Choice were correct that its allocation

is based solely on “Choice’s particular historical participation in the refrigerant

market,” Pet. Resp. to Jurisdictional Question at 9, any change in Choice’s

allocation would necessarily have direct effects across the country.

      But Choice’s premise is not correct, in any event. The Allocation Action’s

methodology necessarily makes the number of allowances available to any one

entity dependent on the allowances issued to others. Each entity’s allocation is a

relative percentage of the pool as a whole. More concretely, in the calculation of an

entity’s portion of the 2022 consumption allowance pool, the denominator in the

equation to calculate its relative percentage is the sum of the average high-three

consumption years of all consuming entities, wherever they are located. 40 C.F.R.



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§ 84.11(1). Choice’s ultimate allocation is thus not based on factors specific to

Choice alone, and the action cannot be construed as locally applicable.

      Choice’s argument that “the agency’s calculation of allowances for each

individual company is based on company-specific data for ‘each entity,’” Pet.

Resp. to Jurisdictional Question at 17, is thus only half true. Both because the

allowances are distributed from a single, finite, national pool, and because an

individual entity’s allocation is based on its historic consumption relative to other

entities, the Allocation Action is facially nationally applicable.

      What is more, Choice’s characterization of its challenge as limited to

Choice-specific facts alone is belied by its merits arguments, which assert that

allowances were inappropriately allocated to others—Company A and Company

B—instead of Choice. See Choice Br. at 31 (“[I]t was arbitrary and capricious for

EPA to have given allowances to other companies and not to have allocated

allowances to Choice.”). Resolving whether EPA correctly credited Company A as

the “entity that imported” the HFCs that Choice contends were earmarked for its

domestic use, see Choice Br. at 31–38, necessarily implicates the allowances

allocated to Company A, too. Likewise, Choice’s argument that EPA should not

have credited Company B with imports that Choice contends infringed on Choice’s

patent and were brought into the country in violation of a Department of




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Commerce anti-dumping order, see Choice Br. at 38–41, necessarily implicates

Company B’s allowances.

      Furthermore, EPA did not need to “designate” the action as “nationally

applicable” in the Allocation Action for the action to be, in fact, nationally

applicable. Choice suggests that “EPA had the statutory authority to designate its

action as nationally applicable under section 307(b)(1) of the Clean Air Act, but

declined to do so, and should be considered to have waived that position.” Choice

Br. at 3. Choice appears to confuse “nationally applicable” with the authority for

EPA to find in its discretion that an otherwise locally applicable action is “based

on a determination of nationwide scope or effect.” 42 U.S.C. § 7607(b)(1). If EPA

so finds and publishes that finding, then review of that action—even though it is

otherwise facially locally or regionally applicable—may only be had in the D.C.

Circuit. Id. This exception does not apply here because, for the reasons given

elsewhere in this Part, the Allocation Action is facially nationally applicable.

      B.     Choice’s approach to venue defies the plain statutory text.

      Choice’s argument that the scope of its challenge to the Allocation Action

dictates that the action is “locally applicable” is contrary to the text of section

7607(b)(1). That text makes clear that the exclusive focus of the venue inquiry is

on the nature or scope of the action taken, not on the petitioner or its arguments.

The provision thus stands in contrast to other statutes that instead assign venue



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based in whole or in part on the identity or the claims of the party challenging

EPA’s action. E.g., 28 U.S.C. § 1391(e)(1) (general venue statute authorizing suit

in judicial district where plaintiff resides and where substantial events giving rise

to claim occurred); 33 U.S.C. § 1369(b)(1) (authorizing Clean Water Act suit in

regional circuits where petitioner resides or transacts affected business).

      Choice’s argument that the statutory term “applicable” must be read to mean

“applicable to the subject of the regulation,” Pet. Resp. to Jurisdictional Question

at 8 (emphasis added), ignores the words that “applicable” modifies: “regulations”

and “action.” 42 U.S.C. § 7607(b)(1) (referring to “other nationally applicable

regulations promulgated, or final action taken”). The statute’s focus is, therefore,

the national character of the challenged action, not the nature of the petitioner’s

challenge to that action.

      This makes sense: nationally applicable actions commonly have effects in

numerous localities. Petitioners’ proposed construction of section 7607(b)(1), in

which only some effects of a nationally applicable action would be considered for

purposes of venue, would vitiate the distinction between nationally and locally

applicable actions and render the Act’s plain language meaningless. See S. Ill.

Power Coop., 863 F.3d at 673 (explaining that section 7607(b)(1) provides “no

explicit or implicit exception for challenges to nationally applicable rules based on

local or regional ‘factors’ or ‘effects’”).



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      Moreover, Congress directed the consolidation of review of nationally

applicable action in the D.C. Circuit to ensure that those actions are not subject to

multiple, conflicting judicial interpretations. See State of Texas v. EPA, 983 F.3d

826, 835 (5th Cir. 2020) (“All nationally applicable actions go to the D.C. Circuit,

which promotes national uniformity.”); see also Texas v. EPA, No. 10-60961, 2011

WL 710598, at *4 (5th Cir. Feb. 24, 2011) (concluding that “Congress intended the

D.C. Circuit to review matters on which national uniformity is desirable” because,

inter alia, “[c]entralized review of national issues is preferable to piecemeal review

of national issues in the regional circuits, which risks potentially inconsistent

results” (citations and internal quotation marks omitted)). Determining forum

based merely on some of a nationally applicable action’s impacts frustrates

Congress’ intent by subjecting that same action to judicial review in several

circuits. See id.; see also S. Ill. Power Coop., 863 F.3d at 673. This could result in

inconsistent decisions on the same issues, and it would be at odds with the

language and purpose of section 7607(b)(1).

      Additionally, the “local effects” approach Choice advocates would

unnecessarily complicate the venue inquiry. Courts have repeatedly cautioned

against interpreting section 7607(b)(1) in ways that “might raise complex factual

and line drawing problems” that “would waste time and serve little purpose.”

NRDC v. Thomas, 838 F.2d 1224, 1249 (D.C. Cir. 1988); State of New York v.



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EPA, 133 F.3d 987, 990 (rejecting “vague criteri[a]” for determining venue under

section 7607(b)(1), because “[j]urisdictional criteria should be precise, so that

litigation does not become entangled in issues that are unrelated to the merits”).7

Consequently, courts have rejected approaches, like the one Choice advocates here,

that would have venue “turn[] on the de facto scope of the regulation,” Thomas,

838 F.2d at 1249, or the scope of a particular petitioner’s challenge, S. Ill. Power,

863 F.3d at 671. An approach that requires an analysis of the particular issues

raised by an individual petitioner would, at a minimum, invite forum-shopping,

uncertainty, and inefficient motions practice.

         Choice’s approach also has a serious practical problem. It means that venue

cannot be definitively determined at the outset of the case and must instead await a

petitioner’s merits brief. A petition for review need only name the parties and the

agency action to be reviewed. Fed. R. App. P. 15(a)(2). A court assessing venue

should not have to await merits briefing to determine where the case should be

heard.



7
  The judicial review structure Congress adopted was influenced by the
recommendations of the Administrative Conference of the United States, see H.
Rep. No. 95-294 at 324, which urged attention to “the principle that jurisdictional
provisions should draw bright lines to minimize the waste and expense of litigation
over whether a case has been brought in the right court.” 41 Fed. Reg. 56,767,
56,767 (Dec. 30, 1976).



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      Section 7607(b)(1) creates a much more efficient system. By basing the

forum on the nature of EPA’s final action, the proper forum for any challenges by

anyone to the action is fixed on the date the final action is taken. The scope of

potential issues to be raised in a petition for review has no relevance and thus

creates no uncertainty. A single court can address all issues presented by a

particular action, not just purportedly “local” ones. Choice’s approach, which

would make venue over an agency action depend on the particular petitioner

bringing suit and the particular issues they elect to raise, is contrary to section

7607(b)(1)’s text.

      C.     Choice’s approach is contrary to precedent and hinges on a
             case that has been expressly overruled.

      Several courts of appeals have rejected the approach that Choice advocates

here: that a petitioner could fashion its challenge to a specific local aspect or effect

of an otherwise nationally applicable action and thereby manufacture venue in a

regional circuit. See ATK Launch Sys., 651 F.3d at 1197 (holding that “this court

must analyze whether the regulation itself is nationally applicable, not whether the

effects complained of or the petitioner’s challenge to that regulation is nationally

applicable”); Texas v. EPA, 829 F.3d 405, 419 (5th Cir. 2016) (“The question of

applicability turns on the legal impact of the action as a whole.” (emphasis

added)). Consistent with that approach, the D.C. Circuit holds that, to determine

whether an action is “nationally applicable,” courts “need look only to the face of


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the agency action.” Sierra Club v. EPA, 926 F.3d 844, 849 (D.C. Cir. 2019);

Dalton Trucking, 808 F.3d at 881.

      The outlier on which Choice hangs its hat is the Seventh Circuit’s decision

in Madison Gas & Elec. Co. v. EPA, 4 F.3d 529, 530 (7th Cir. 1993), which that

court expressly overruled in Southern Illinois Power Cooperative v. EPA, 863 F.3d

666 (7th Cir. 2017); see id. at 668 n.1 (noting that the opinion had been circulated

pursuant to 7th Cir. R. 40(e) and no judge wished to hear the case en banc). Pet.

Resp. to Jurisdictional Question at 11 (describing Madison Gas as the “most

instructive precedent”). To be precise, the court there held that “Madison Gas is

inconsistent with the text of § 7607(b)(1) and is therefore overruled.” S. Ill. Power

Coop., 863 F.3d at 668.

      Choice contends that its position is consistent with both Southern Illinois

Power and Madison Gas. Pet. Resp. to Jurisdictional Question at 11 n.10. But that

is neither accurate nor possible. The court in Southern Illinois Power expressly

stated that its decision “conflicts with Madison Gas.” 863 F.3d at 668. It explained

that “the analytical method adopted in Madison Gas stands in direct conflict with

the actual text of the venue provision . . . . Id. at 672. The court considered whether

Madison Gas could be “meaningfully distinguished” but decided it could not: “The

two cases are materially the same,” the court concluded. Id. at 673. It reasoned that

both cases “involve EPA rules of national applicability that explain and list in table



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format the agency’s determinations about areas and entities across the country.” Id.

It therefore rejected Madison Gas’s approach because it “cannot be reconciled with

the plain text of § 7607(b)(1).” Id.

      There is no daylight between the approach Choice advocates and that

rejected in Southern Illinois Power when that court overruled Madison Gas. In

Madison Gas, petitioners challenged EPA acid rain regulations that created a

limited national pool of allowances to emit sulfur dioxide and allocated those

allowances to certain pollutant sources. Madison Gas, 4 F.3d at 530. The court

described petitioner’s objection to the number of allowances it received as being

based on “an entirely local factor”: the petitioner’s generating capacity. Id. at 530–

31. Just as in Madison Gas, Choice objects to the number of allowances it was

allocated from a national pool, and it contends that that allocation and Choice’s

challenge is limited to factors specific to Choice alone. Choice Br. at 2. Choice

thus contends that the purportedly limited scope of its challenge should lead the

Court to conclude the action is locally applicable. Id.

      Choice’s argument stands in direct conflict with Southern Illinois Power. As

the Seventh Circuit correctly concluded, section 7607(b)(1) “allocates venue to the

D.C. Circuit or the regional circuits based solely on the nature of the agency action

in question.” S. Ill. Power Coop., 863 F.3d at 673 (emphasis in original). “The text

of the statute leaves no room for an intermediate case; there is no explicit or



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implicit exception for challenges to nationally applicable rules based on local or

regional ‘factors’ or ‘effects.’” Id. In other words, if the action is nationally

applicable, it makes no difference that it may involve some local or regional

“factors” or “effects”; a nationally applicable action can only be challenged in the

D.C. Circuit. See Texas v. EPA, 2011 WL 710598, at *3 (explaining that “all

relevant EPA actions” are “either ‘nationally applicable’ or ‘locally or regionally

applicable’”). Furthermore, the Southern Illinois Power Cooperative court rejected

the idea that a purportedly “local” element of a national allowance allocation could

be reviewed in isolation. ATK Launch Sys., 651 F.3d at 674.

      Choice’s approach is also in conflict with other decisions in other circuits

that have rejected the approach taken in Madison Gas. For instance, the Tenth

Circuit in ATK Launch Systems, 651 F.3d at 1197, held that “[t]he language of

[section 7607(b)(1)] makes clear that this court must analyze whether the

regulation itself is nationally applicable, not whether the effects complained of or

the petitioner’s challenge to that regulation is nationally applicable.” The court did

not cite Madison Gas “approvingly,” as Choice contends, Pet. Resp. to

Jurisdictional Question at 14, but rather expressly rejected Madison Gas’s

suggestion “that the manner in which a petitioner frames his challenge to a

regulation may alter the court in which the suit belongs” as “inconsistent with the

language of the Act’s judicial review provision.” Id. at 1199.



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      The D.C. Circuit has also rejected Madison Gas’s approach. In Texas

Municipal Power Agency, 89 F.3d 858, 861 (D.C. Cir. 1996), the court similarly

dealt with a challenge to the allocation of allowances from a national pool.

Consistent with Southern Illinois Power, the court explained that its own precedent

would have held “the nationwide scope of the database allocation rule should

control, rather than the local incidence of any one allowance allocation.” Id. at 866

(explaining NRDC v. Thomas, 838 F.2d 1224, 1249 (D.C. Cir. 1988)).

Acknowledging the contrary approach in Madison Gas, the court said that

reconciling that case’s “distinction between ‘entirely local’ and ‘local but having

national effect’” was “rather elusive.” Texas Municipal Power Agency, 89 F.3d at

867. Ultimately, the court held that it did not have to resolve the issue because it

determined EPA had waived its venue objection. Id.

      Nevertheless, the D.C. Circuit has elsewhere expressly adopted an approach

consistent with Southern Illinois Power and contrary to Madison Gas. See Am. Rd.

& Transp. Builders Ass’n v. EPA, 705 F.3d 453, 456 (D.C. Cir. 2013) (holding that

to determine an action’s “applicability,” a court “need look only to the face of the

rulemaking, rather than to its practical effects”). The Fifth Circuit has taken the

same approach to determining applicability. See State of Texas, 983 F.3d at 833

(finding action “directed only at four contiguous Texas counties” was “locally

applicable”); Texas v. EPA, 706 F. App’x 159, 163 (5th Cir. 2017) (holding “when



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a final rule, by its terms, regulates only people or entities in a single judicial

district, the action is not nationally applicable”).

      The other cases Choice cites pre-date Southern Illinois Power and present

facts distinct from the Allocation Action. For instance, the Seventh Circuit in State

of New York v. EPA, 133 F.3d 987 (7th Cir. 1998), explained that the challenged

action—a rule exempting a discrete group of states in a single region from certain

Clean Air Act requirements—was not “nationally applicable” because the

exemption “is limited to a cluster of states” and was therefore “regional in a literal

sense.” 133 F.3d at 990. Thus, the Seventh Circuit did not employ the approach

Choice urges here, and, regardless, has since explicitly rejected it.

      Similarly, National Parks Conservation Association v. McCarthy, 816 F.3d

989 (8th Cir. 2016), dealt with a geographically limited action: EPA’s approval of

Minnesota’s regional haze plan. Id. at 992. There, the Eighth Circuit cited Madison

Gas in finding that a challenge to the approval of that single state plan, which

followed directly from a separate national rule, was a challenge to a local “element

of a national program.” Id. at 993–94. But the “national program” was not the

agency action under review; it was an individual state plan implementing the

national rule in that particular state. Here, by contrast, the action Choice challenges




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is the “national program”: the national distribution of allowances from a single,

nationwide pool, based on a common, nationally uniform methodology.8

       Finally, even if Madison Gas were still good law, it would be

distinguishable from the present case because here—as described in Part I.A.,

supra—no single entity’s allocation is based entirely on a local factor. And even

under Madison Gas’s flawed, overruled approach, the court acknowledged that the

petitioner’s challenge could have been construed as nationally applicable if, as

here, disposition of that challenge would have an impact on the national program.

Madison Gas, 4 F.3d at 531.

       The Allocation Action is nationally applicable. The Court should dismiss in

favor of Choice’s protective petition before the D.C. Circuit or transfer this petition

to that court.

II.    EPA reasonably declined to base Choice’s allocation on HFCs
       imported by Company A.

       Consistent with the AIM Act and its implementing regulations, EPA’s

Allocation Action reasonably distributed HFC consumption allowances to “entities

that imported” HFCs “in 2020,” according to their relative import activity between



8
 The Fourth Circuit discussed Madison Gas in dicta in its unpublished and non-
precedential decision in West Virginia Chamber of Commerce v. Browner, 166
F.3d 336 (Table) (4th Cir. 1998), but concluded that the D.C. Circuit was the
proper forum because petitioners a “national aspect” of a nationally applicable
rule. Id. at *8.

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2011 and 2019. 40 C.F.R. § 84.11(a). The decision not to base Choice’s allocations

on HFCs imported by Company A, reported to U.S. Customs and Border

Protection and EPA as imported by Company A, and for which Company A paid

import duties, was reasonable under EPA’s regulations and consistent with the

structure of the AIM Act. Furthermore, EPA adequately explained the data and

methodology on which the Allocation Action was based. Finally, EPA reasonably

declined to base Choice’s allocation on HFCs imported by Company B on the basis

of Choice’s allegation that those imports violated trade and patent laws.

      A.     Declining to base Choice’s allocation on HFCs brought into
             the United States by Company A was reasonable and
             consistent with the AIM Act regulations.

      EPA’s Allocation Action appropriately did not base Choice’s allocation on

HFCs that were actually “br[ought] into” the United States by Company A. See 42

U.S.C. § 7675(b)(6); 40 C.F.R. § 84.3 (definition of “import”). Under the

Framework Rule, allowances are allocated to “entities that imported” in amounts

commensurate to the amount the entity historically imported or produced. 40

C.F.R. §§ 84.9(a), 84.11(a).

      EPA’s determination to base Company A’s allocation on HFCs that that

company imported, and not to provide that credit to Choice, which received the

HFCs after they were brought into the country, is consistent with and the best

interpretation of the Framework Rule regulations. It was also consistent with data



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from the Greenhouse Gas Reporting Program and U.S. Customs and Border

Protection.

              1.    Giving Company A, not Choice, credit for HFCs that
                    Company A imported conforms to EPA’s regulations,
                    which provide allowances to “entities that imported.”

      EPA’s regulations state that it will issue consumption allowances “to entities

that imported or produced” HFCs in 2020 in quantities based, in relevant part, on

“consumption amounts.” 40 C.F.R. § 84.11(a) (emphasis added). In other words,

the regulations provide that allowances will go to entities that “imported,” meaning

the entities responsible for the “land[ing] on, bring[ing] into, or introduc[ing] into”

the United States. 40 C.F.R. § 84.3 (definition of “import”). Company A, not

Choice, landed, brought, and introduced the disputed HFCs into the country, and

EPA therefore reasonably credited Company A, not Choice with those imports for

purposes of the Allocation Action. See RTC at 191 (Addm. 66); Allocation Master

List – Calculations, Ex. B.

      Choice’s argument rests on its claim to be the “actual owner” of the

contested imported HFCs.9 But the term “actual owner” cannot be read in isolation;


9
  Although Choice contends in its brief that it was the “consignee” of the disputed
HFC imports, Choice Br. at 25–26, it did not make that assertion in its comments
on the Framework Rule or the allowance allocation. To the contrary, Choice stated
in its comments that “the distributor’s name”—i.e., Company A’s name—“appears
on customs records.” Choice Letter (July 6, 2021) (Addm. 112). Accordingly, the
“consignee” argument is waived. See United States v. L.A. Tucker Truck Lines,


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it must be understood in the broader regulatory context. King v. Burwell, 576 U.S.

473, 486 (2015) (explaining words of a statute must be interpreted “with a view to

their place in the overall statutory scheme” (quoting Brown & Williamson, 529

U.S. 120, 132 (2000)); see also Christopher v. SmithKline Beecham Corp., 567

U.S. 142, 161 (2012) (employing “traditional tools of interpretation” to regulation).

That context confirms the reasonableness of EPA’s determination that Choice was

not the “actual owner” of the HFCs in question.

      The AIM Act regulations state that consumption allowances will be issued

“to entities that imported.” 40 C.F.R. § 84.11(a). Accordingly, in the context of

allocation, the definition of “importer” should be read in service of the definition

of “import,” which, again, means to “land on,” “bring into,” or “introduce into” the

United States. 40 C.F.R. § 84.3. “Import” does not speak to the movement or use

of the imported HFCs after they arrive in the country, and the provision for

consumption allowance allocations, 40 C.F.R. § 84.11, places emphasis on the act

of bringing HFCs into the country, not underlying contracts regarding where the

HFCs are destined once they are brought in. Based on Choice’s description of its


Inc., 344 U.S. 33, 37 (1952); Vidiksis v. EPA, 612 F.3d 1150, 1158 (11th Cir.
2010) (“Under ordinary principles of administrative law, a reviewing court will not
consider arguments that a party failed to raise in timely fashion before an
administrative agency.” (quoting Mahon v. U.S. Dep’t of Agric., 485 F.3d 1247,
1254–55 (11th Cir. 2007)). However, even if properly raised before this court,
EPA still reasonably included the disputed imports in Company A’s allocation
calculation, not Choice’s.

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relationship to Company A and the underlying HFC imports, it was therefore

reasonable for EPA to conclude that Choice was the “customer” of an importer for

purposes of the allowance allocation, not the entity that imported. RTC at 191

(Addm. 66).

      Indeed, by Choice’s own description, it was Company A, not Choice, who

actually brought the disputed HFCs into the United States. Choice concedes that

Company A “arranged with U.S. customs for the imports” and “advanced” the cost

of shipping from overseas to the United States, and that Company A’s “name

appears on customs records.” Choice Br. at 13. Choice describes Company A as

providing “import services.” Id. at 14; see also Addm. 96. And Company A

reported the imports to the Greenhouse Gas Reporting Program, which, as

described further below, requires, inter alia, entities that import HFCs over a

certain threshold amount to report those imports to EPA. In addition, EPA

confirmed that the Reporting Program import data for both Company A

(             ) and Choice was consistent with U.S. Customs and Border

Protection import data. Methodology Memo at 10, 14–15 (A29, A33–34).

      Further, nothing about Choice’s description of its own relationship to these

HFCs reflects that it was Choice, and not Company A, who caused the HFCs to be

“land[ed] on, [brought] into, or introduc[ed] into” the United States. 42 U.S.C.

§ 7675(b)(6); 40 C.F.R. § 84.3. Choice asserts that it had a “commercial



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distribution arrangement” with Company A, that the disputed HFC imports “were

shipped through a U.S. port of entry . . . to Choice’s production facility in

Alpharetta,” and that the HFCs “were earmarked for and used exclusively by

Choice for the production of its proprietary HFC products.” Choice Br. at 12. But

none of these facts—business contracts with Company A, domestic transport to

Choice’s facility, or purchase and ultimate use by Choice—demonstrates that EPA

erred in concluding that Company A engaged in the pertinent “import” activity.

And Choice did not provide anything beyond its own description of its business

relationship with Company A to substantiate its claims.10

      Company A is thus the entity that best fits the description of an “entit[y] that

imported,” and consequently entitled to the pertinent credit in its allowance

allocation calculation. 40 C.F.R. § 84.11(a). EPA reasonably concluded that the




10
   Choice contends that its relationship to Company A “appears substantially
identical to the shipping agent relationship EPA recognized as valid in crediting
shipments by Company A for other companies in years after Company A ceased
importing on behalf of Choice.” Choice Br. at 33 n.24. Choice appears to be
referring to EPA’s decision to treat Company A and a related company with
common ownership as a single entity for purposes of calculating their allowance
share. See RTC at 152 (Addm. 59). Comments from those two companies
described how one company “was founded in 2018 as a collaboration” with
Company A, which began transitioning its import responsibilities” to the related
company in 2019. Id. EPA reasonably considered the companies as one entity for
purposes of the allowance calculation and allocated this combined single entity
allowances based on the two companies’ collective imports.


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disputed HFCs belonged in Company A’s allowance allocation calculation, rather

than Choice’s.

              2.   EPA’s allocation mirrors the activities that require
                   the expenditure of allowances in the phasedown.

      EPA’s conclusion that Company A, rather than Choice, was entitled to

allocation calculation credit for the disputed HFCs is consistent with the overall

structure of the AIM Act and the HFC phasedown.

      First, EPA’s approach ensures that only one entity receives credit as the

“entity that imported” particular HFCs. EPA explained that Choice’s approach

“would likely double-allocate allowances,” because “both the importer and the

importer’s customer” would receive credit for the same HFCs. RTC at 191 (Addm.

66). Choice has no answer to this double counting problem and acknowledges that,

under its preferred approach, multiple entities could count as importers for the

same HFCs, entitled to credit for the same HFC imports in the allowance

allocation.. Choice Br. at 24 n.18. That would distort the allowance system and

jeopardize the AIM Act phasedown’s ultimate goal: reducing HFC import and

production.

      Second, EPA’s Allocation Action mirrors the AIM Act’s phasedown

provisions by distributing allowances to those entities that historically conducted

the same activities now prohibited absent the expenditure of allowances. The AIM

Act and implementing regulations provide that “no person” shall “produce” or


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“consume” HFCs “without a corresponding quantity of production or consumption

allowances.” 42 U.S.C § 7675(e)(2); 40 C.F.R. §§ 84.5(a)(2), 84.5(b)(2). Although

the term “consume” could be broadly construed, the Framework Rule makes clear

that the prohibition on “consumption” without corresponding allowances applies

specifically to the act of import. See 42 U.S.C. § 7675(b)(6) (defining import as

landing on, bringing into, or introducing into the United States); 40 C.F.R § 84.3

(same); 40 C.F.R. § 84.5(b)(1)(i) (requiring consumption allowances “at the time

of the import”). Accordingly, the regulations prohibit importing HFCs without

corresponding allowances, and state that consumption allowances must be

expended “at the time of import.” 40 C.F.R. § 84.5(b)(1)(i). In short, allowances

are required for the act of importing, not subsequent transport, blending, or sale of

HFCs that have already been produced in or “imported” into the United States. See,

e.g., 86 Fed. Reg. at 55,122 n.7 (explaining that “EPA does not believe that

Congress intended for every possible use of an HFC to require the expenditure of

allowances”).

      The consumption baseline against which the phasedown is measured is also

calculated based on import only, not subsequent activities. The AIM Act requires

EPA to calculate the consumption baseline based on HFC consumption between

2011 and 2013, as well as specified percentages of the consumption levels of

related substances in 1989. 42 U.S.C. § 7675(e). To determine consumption during



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that time period, EPA relied on production and import data reported to the

Greenhouse Gas Reporting Program. As discussed in more detail in Part II.B

below, the Reporting Program uses the same definition of “import” as the AIM

Act, compare 40 C.F.R. § 98.6 (Greenhouse Gas Reporting Rule), with 42 U.S.C.

§ 7675(b)(6) (AIM Act). As with the prohibition provisions, then, the baseline

therefore captures HFCs at the time of import.

      Paralleling these provisions, and consistent with the Framework Rule, EPA

allocated allowances to entities whose past activities would now require

consumption allowances: those that actually brought, landed, or introduced HFCs

to the United States. As described above, EPA reasonably concluded that that

entity was Company A. See supra Part II. Based on Choice’s description of its

relationship to the HFCs imported by Company A, that past activity would not

require an allowance today. EPA’s approach is thus consistent with the overall

structure of the AIM Act phasedown.

      B.     EPA adequately explained the methodology and data
             applied to the Allocation Action and appropriately used
             data from the Greenhouse Gas Reporting program.

      Contrary to Choice’s contention that EPA conducted its allowance

calculation “in a black box,” Choice Br. at 15, EPA adequately explained and gave

notice of its allocation methodology and reasonably selected comprehensive,

reliable data sources.



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      Choice’s contention (at 37) that “EPA provided absolutely no explanation at

all in the record of its decision with regard to Choice Refrigerants,” is unfounded.

First, the Framework Rule established EPA’s allocation methodology through a

notice-and-comment rulemaking. In the preamble to the Framework Rule, EPA

provided notice of and explained the process by which EPA intended to identify

importers, quantify historic imports, and that it would use Reporting Program and

U.S. Customs data to do so. See 86 Fed. Reg. at 55,143–47. The Response to

Comments on the Framework Rule also explains the Agency’s approach to that

data. See, e.g., RTC at 191 (Addm. 66). Second, EPA’s Methodology

Memorandum for the Allocation Action—filed under seal because it contains

protected information—describes the steps the Agency took to gather and apply the

data according to that methodology. Methodology Memo (A20). Third, the

Allocations Master List excel spreadsheet “pivot by company” sheet shows

company-specific consumption and production data by year, and its “calculations”

sheet showing the calculations shows the calculations made to establish the

aggregate of all entities’ high-three consumption and production years and each

entity’s relative percentage. See Exs. A, B.

      Choice’s argument that EPA failed to provide adequate explanation for its

action is based on its unreasonable view that the Notice of the Allocation Action

published in the Federal Register needed to recite the full explanation of EPA’s



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calculation. But, as Choice is well aware, the Greenhouse Gas Reporting Program

data EPA principally relied on is, by the terms of its implementing regulations,

protected from public disclosure. See 86 Fed. Reg. at 55,192. In fact, Choice itself

asked EPA to treat its comments describing its claim to import credit based on its

relationship to Company A and Company B as confidential business information.

Letter from Choice to EPA at 2 (Sept. 29, 2021) (A38). The information that EPA

could provide publicly was thus necessarily limited. Nevertheless, the

administrative record for the Allocation Action contains ample explanation and

support for the decision.

      Further, contrary to Choice’s argument, EPA’s decision to use data reported

through the Greenhouse Gas Reporting Program was reasonable. The Greenhouse

Gas Reporting Program was established in 2009 and requires various facilities and

suppliers to annually report data related to greenhouse gases, including HFCs, to

EPA. See Framework Rule, 86 Fed. Reg. at 55,140; see 40 C.F.R. § 98.2. The data

submitted via the Reporting Program comprises a longstanding, comprehensive

dataset that “captures the vast majority of the bulk HFC production, import, and

export in the United States.” Proposed Framework Rule, 86 Fed. Reg. at 27,164.

The data also aligns precisely with the types of activities that EPA needed to

measure to establish the allowance system and allocate allowances. Id. Indeed, the

regulations governing the Reporting Program use a substantially similar definition



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of “importer” as the Framework Rule. Compare 40 C.F.R. § 98.6, with id. § 84.3.

EPA’s choice to rely on Reporting Program import data would therefore

reasonably capture the very same “importers” and “imports” relevant to the

Allocation Action.

      EPA also reasonably acknowledged and gathered additional information to

fill gaps in the Reporting Program data. See 86 Fed. Reg. at 55,141. EPA explained

that the Reporting Program data may not capture all HFC imports because

companies importing fewer than the reporting threshold amount of HFCs are

exempt from reporting, although analyses indicated the unreported amounts would

be small. Proposed Rule, 86 Fed. Reg. at 27,164. Based on comparisons with U.S.

Customs and Border Protection import data, EPA also explained that it appeared

that some entities had not made required reports in violation of federal regulations.

      To address these data gaps, EPA published a “Notice of Data Availability”

inviting the public to provide additional data and identify other potential gaps in

EPA’s knowledge. 86 Fed. Reg. at 27,165. EPA also compared Reporting Program

data to Customs data, which has significantly lower reporting thresholds,

Framework Rule, 86 Fed. Reg. at 55,141, and specifically contacted entities whose

Reporting Program imports varied by more than 20 percent from imports reported

to Customs. See Methodology Memo at 1–2 (A20–21); Framework Rule, 86 Fed.

Reg. at 55,140–41. EPA also attempted to contact via mail and electronic mail any



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entity that reported imports of HFCs to U.S. Customs and Border Protection for the

relevant timeframe. Framework Rule, 86 Fed. Reg. at 55,141–42. Further, EPA

held stakeholder meetings to solicit comments and additional data. Proposed Rule,

86 Fed. Reg. at 27,165. In short, EPA took reasonable steps to verify and

supplement the data from the Reporting Program to ensure that all HFC imports

were accounted for.

      Notwithstanding EPA’s reasonable data collection, Choice contends that the

Reporting Program data is unreliable because it does not accurately capture the full

scope of the commercial relationships that Choice contends is necessary to

determine who was truly the “importer” of particular HFCs. See Choice Br. at 27–

29. Yet, as noted above, the Reporting Program and the AIM Act regulations

employ substantially the same definition of “imports” and “importer,” and it is

“importers” who are required to report under the Mandatory Greenhouse Gas

Reporting regulations. See 40 C.F.R. § 98.2(a) (requiring “suppliers” to report,

where “suppliers” is defined at 40 C.F.R. § 98.6 to include an “importer”).

Furthermore, EPA compared this data to independently reported data from

Customs and invited entities to supplement or revise their Reporting Program

reports through the Notice of Data Availability.

      Choice also contends that, had it known that HFC allowances might have

been allocated based on Reporting Program data, it may have structured its



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business contracts differently. Choice Br. at 29–30. But Choice does not point to

any alternative data source that EPA could have relied on to assess historic

consumption activity. Moreover, the fact that the data predates the establishment of

an allocation system provides some measure of objectivity, ensuring that entities

did not enter into the import market in a bid to manipulate an eventual allocation.

See id. at 27,170. Thus, for the reasons described above, EPA reasonably relied on

the Reporting Program data, supplemented by other sources, and used it

consistently in the design of the phasedown program as a whole. Choice’s

argument with respect to imports by Company A should be rejected and its petition

for review dismissed.

      C.     EPA reasonably declined to credit Choice for imports by
             Company B.

      Choice next contends that EPA’s allowance calculation should have credited

Choice with HFC imports by a third company, which it refers to as “Company B.”

Choice alleges that Company B imported blended HFC products that infringed on

Choice’s patents, and that doing so unlawfully circumvented a Department of

Commerce Anti-Dumping Duties Order. Choice contends that because it owns

intellectual property for those blends, it is the “actual owner” of the imported

HFCs for purposes of the definition of “importer,” and, by extension, the allocation

of allowances. Choice Br. at 38.




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      EPA reasonably rejected this argument. First, nothing in the AIM Act or its

implementing regulations provides EPA with the authority or direction to account

for alleged patent infringement claims in its allowance allocation methodology—

let alone to then base another company’s allocation on those imports. See RTC at

191 (Addm. 66). The regulations establishing the allocation methodology applied

in the Allocation Action do not address intellectual property at all. To the extent

Choice suggests that the AIM Act “requires” EPA to credit Choice with the

allegedly infringing imports, see Choice Br. at 38, its grievance is with the

Framework Rule, not the Allocation Action. See supra note 2. Choice accordingly

cannot raise this objection in its petition for review of the Allocation Action.

      Second, nothing in the AIM Act or its implementing regulations entitles

Choice to have EPA consider HFC imports by others in Choice’s allocation

calculation when those imports allegedly violate anti-dumping orders. EPA

confronted concerns with allocating allowances to entities that the Department of

Commerce has determined are “dumping” HFCs onto the U.S. market. Proposed

Rule, 86 Fed. Reg. at 55,170. “Dumping refers to ‘when a foreign producer sells a

product in the United States at a price that is below that producer’s sales price in

the country of origin . . . or at a price that is lower than the cost of production.’” 86

Fed. Reg. at 55,170 (quoting U.S. Antidumping and Countervailing Duties,”

Trade.gov, International Trade Administration).



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      To address anti-dumping concerns, EPA adopted, in the Framework Rule,

regulations giving the Agency discretion to revoke, retire, or withhold allowances

for the year that an entity fails to pay assessed anti-dumping/countervailing duties.

40 C.F.R. § 84.5(h); see 86 Fed. Reg. at 55,170. In addition, EPA may reduce

future allowance allocations or ban a company from receiving future allowances

for failure to pay duties. Id.; see 40 C.F.R. § 84.35. EPA’s codified methodology

for calculating allowance allocations does not provide for shifting credit for

historic imports from an entity that violated an anti-dumping order to any other

entity. Choice’s argument that its allocation, without the Company B imports, was

inconsistent with the Framework Rule is baseless. And if Choice believes that the

Framework Rule should provide for transferring credit for historic imports by those

that violate anti-dumping orders to different entities, then its objection is to the

Framework Rule itself and does not belong in this case.

      Further, as EPA noted in its Response to Comments, Choice’s allegations

are unproven. RTC at 191 (Addm. 66). Choice contends that because its allegations

are “unrefuted” in the record, EPA was obligated to credit them. Notably, because

Choice’s comments laying claim to imports by Company A and Company B were

claimed as confidential business information, see Letter from Choice to EPA at 2

(Sept. 29, 2021) (A38), it is unlikely that any other entity was aware of Choice’s




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allegations. Therefore, Choice’s claim that their contentions are “unrefuted” carries

little weight.

       Regardless, EPA reasonably declined to credit Choice’s conclusory

assertions. Although Choice asserts in its brief that Company B has infringed its

patent, it points to no finding or adjudication of that fact. In its July 6, 2021

comment letter, Choice cites its counter-claim complaint before the Federal

District Court for the Western District of North Carolina in Dynatemp

International, Inc., et al. v. RMS of Georgia, LLC, Case Number 5:20-cv-00142

(E.D.N.C.). The docket for that case shows that the parties each assert trademark

infringement, false advertising, and other tort claims (none for patent infringement)

against each other and that the case has not yet been resolved. See Docket for Case

No. 5:20-cv-00142 (E.D.N.C.), Ex. C. The determination of liability and

imposition of an appropriate remedy is appropriately left to the federal district

court currently hearing the case. See RTC at 191 (Addm.66) (“Other laws and

authorities are the appropriate avenue” for Choice to address its alleged patent

violations); cf. Colorado River Water Conservation Dist. v. United States, 424 U.S.

800, 817 (1976) (explaining that when two federal district courts have before them

proceedings involving the same matter, “the general principle is to avoid

duplicative litigation”).




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      Finally, Choice’s argument that the alleged patent infringement or anti-

dumping circumvention means that Choice is the “actual owner” of additional HFC

imports defies even the most tortuous construction of the term “owner.” There is

certainly nothing in the AIM Act or implementing regulations indicating that

“actual owner” in the definition of “importer” could reasonably be interpreted as

the as-yet-unvindicated owner of intellectual property rights in the particular HFC

product. As explained above, see supra Part II.A, the definition of “importer” in

the Framework Rule must be interpreted in light of the term “import” and the

general structure of the phasedown and allowances system. These all point to the

entity that actually caused HFCs to be brought into the country; nothing suggests

an entity would be entitled to allowances based on an allegation that it has

intellectual property rights in the imported products.

      Indeed, given the AIM Act’s and the Framework Rule’s focus on particular

HFC components—the constituents of blends—a patent claim to a particular blend

of HFCs has little relevance. In its implementing regulations, EPA explained that

allowances would be needed only for the HFC components of blends, and not

blends themselves. 86 Fed. Reg. at 55,142. Choice’s argument that its intellectual

property rights are relevant to its allocation determination is thus misplaced.

      Furthermore, Choice’s argument that it is entitled to more AIM Act

allowances is remote from any remedy available for the alleged patent



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infringement. By statute, the default remedy for patent infringement is damages or

an injunction “to prevent the violation of any right secured by patent.” 35 U.S.C.

§ 283; see id. § 284. None of the statutory remedies for patent infringement include

converting ownership of the actual product or product components that infringed

the patent to the patent holder. Even assuming Choice’s patent infringement claims

are correct, it was not the “owner” of Company B’s HFC refrigerant blends and it

did not “import” them.

      Similarly, the Department of Commerce anti-dumping order does not

convert Choice into the “owner” of Company B’s imported HFCs. Upon a final

finding of dumping, Commerce establishes anti-dumping/countervailing duties

which help “negate the value of the dumping/subsidization for foreign products

into the United States” and “attempts to “eliminate the unfair pricing or subsidies

and the injury caused by such imports.” 86 Fed. Reg. at 55,170.11 Further the

Department of Commerce Order that Choice points to undermines its own

argument: the finding that “unpatented R-421A, is circumventing the order on

HFC blends from China” is only “retroactive to June 18, 2019,” and does not affect

imports in 2017, the year Choice seeks credit for Company B imports. See Addm.




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  Additionally, the Tariff Act gives the International Trade Commission the
authority to impose penalties, such as excluding the articles from entry, for
importing goods that infringe on a legally enforceable patent. 19 U.S.C. § 1337.

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70; A.38. The finding, therefore, does not reach the imports that Choice is now

attempting to claim in its own allowance allocation calculation.

      Choice’s other theory for its “ownership” claim to the Company B imports is

pure speculation. Choice contends that “if Company B had not illegally imported

this quantity of pirated R-421A, Choice Refrigerants would have supplied that

market demand with its genuine R-421A.” Choice Br. at 17. With higher demand,

Choice asserts it would have imported more products, and would thus have been

awarded more allowances in the Allocation Action. Id. This attenuated logic has no

limiting principle and is entirely divorced from the text, structure, or purpose of the

AIM Act or its implementing regulations. Any number of unfulfilled contingencies

may have led to Choice importing more HFCs in prior years.

      EPA reasonably rejected Choice’s claim to credit for Company B’s imports

based on speculation about market share and, consistent with the Framework Rule,

allocated allowances based on actual historic production and consumption data.

Choice’s petition for review should be denied.

                                  CONCLUSION

      The petition should be dismissed or transferred for lack of venue. Should the

Court determine that venue is proper in this Court, the petition should be denied.




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                                       Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      1.    This document complies with Federal Rule of Appellate Procedure

32(a)(7)(B)(i) because, excluding the parts of the document exempted by Federal

Rule of Appellate Procedure 32(f) this document contains 12,961 words.

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Times New Roman, a proportionally spaced font.

                                          /s/ Sarah A. Buckley
                                          SARAH A. BUCKLEY




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